          Case 3:19-bk-30822                        Doc 1          Filed 03/19/19 Entered 03/19/19 14:33:05                                        Desc Main
                                                                   Document      Page 1 of 8
     Fill in this information to identify the case:



                               Distnct of ____
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                                                                                           2019MAR 19 PM 2: 19
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Official Form 205
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Involuntary Petition Against a Non-lndivid�if ;:. r•.                                                                                                                   12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual {Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages. write debtor's name and case number (if
known).


             Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1. Chapter of the                      Check one:
   Bankruptcy Code

                                       ::l        ::>acter 1   •




I#fl         Identify the Debtor


2. Debtor's name


3. Other names you know
   the debtor has used in
   the last 8 years




4. Debtor's federal
   Employer Identification             0 :Jnknovvc:
   Number (ElN)
                                        1.tJ t;_I 7 l _ Jl.()
                                       f''.i\


                                       Principal place of business                           Mailing address, if different
5.   Debtor's address

                                      3415

                                                                                             PO Box




                                                                                             Location of principal assets; if different from
                                                                                             principal place of business

                                                  llSff
         Case 3:19-bk-30822           Doc 1         Filed 03/19/19 Entered 03/19/19 14:33:05                                 Desc Main
                                                    Document      Page 2 of 8
Debtor
                                                                                             Case number 11h,,.,,1,______________



s. Debtor's website (URL)            WWW. P!JtAJtl(5h�lf ())1>1                            ·'---------------


7. Type of debtor              'J{   Corporation (including Limited Liability Company (llC} and Limited Liability Partnership (LLP))
                               ·□    Partnership (excluding LLP)
                                □    Other type of debtor. Specify: -···---
                                                                                     ·--------·--------------
s. Type of debtor's
                                Check one:
   business
                               0 Heam, Care Business (as defined in 11 U.S.C. § 101(27A)}
                               0 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                               CJ Railroad (as defined in 11 U.S.C. § 101(44))
                               0 Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                               0 Commodity Broker (as defined in 11 U.S.C. § 101(6))
                               □ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                               }INone of the types of business listed.
                               CJ Unknown type of business.

9. To the best of your         � No
   knowledge, are any
   bankruptcy cases            0     Yes. Det>tcr -·-·---··- ---·-·---                                        Relationship
   pending by or against
   any partner or affiliate              District __________ Date filed ______ Case number. tf known._______
                                                                                           MM 1 DD JYYYY
   of this debtor?

                                         Debtor __________________                                            Relabonship

                                         o;stric!     _____ ___ Date filed                                    Case number. if known._______
                                                                                           M\� ; DD I YYYY




iii
10. Venue
            Report About the Case

                               Check one:

                               0 Over the last 180 days before the filing of this bankruptcy. the debtor had a domicile. principal place of
                                    business. or principal assets in this district longer than in any other district.

                               □ A bankruptcy case concerning debtor"s affiliates, general partner. or partnership is pending in this district.
11. Allegations                Each petitioner is eligible to file this petition unaer 11 U.S.C. § 303(b).
                               T'1e debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a}.

                               At least one box must be checked:

                               - The debtor is generally not paying its debts as they become due. unless they are the subject of a bona
                                 fide dispute as to liability or amount.

                               □ Within 120 days before the filing of this petition. a custodian, other than a trustee. receiver. or an
                                    agent appointed or authorized to take charge of less than substantially all of the property of the
                                    debtor for the purpose of enforcing a lien against such property. was appointed or took possession.


12. Has there been a           □ No
    transfer of any claim
    against the debtor by or   □ Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
    to any petitioner?              Rule 1003(a).
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Debtor                                                                                         Case number {If known),______________



13. Each petitioner's claim               Name of petitioner                                 Nature of petitioner's claim              Amount of the claim
                                                                                                                                       above the value of
                                                                                                                                       any lien




                                                                                                                                       $_     ____


                                                                                                                                       $ ______

                                                                                                    Total of petitioners· claims
                                                                                                                                        $ ______


    If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor's name and the case number, if known, at
    the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
    additional petitioning creditor, the petitioner's claim, the petitioner's representative, and the petitioner's attorney. Include the
    statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner's (or representative's) signature,
    along with the signature of the petitioner's attorney.




•iii          Request for Relief

    WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
    $500,000 or imprisonmentfor up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

    Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
    petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
    foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

    I have examined the information in this document and have a reasonable be6ef that the information is true and correct.

    Petitioners or Petitioners' Representative                                     Attorneys


    Name and mailing address of petitioner

                                  lf.J   i'�vs.ec
                                         t/                                        Printed name


                                                                                   Firm name, if any
    Number     Street
    -��&-�w�h�CA.�__ U�A-
    City
                       __71:070             State              ZIP Code            Number     Street


                                                                                   City                                      State          ZIP Code
    Name and mailing address of petitioner's representative, if any

                                                                                    Contact phone                           Email __________
     Name

                                                                                    Bar number
     Number     Street

                                                                                    State
    City                                    State              ZIP Code


     I declare under penalty of perjury that the foregoing is true and correct.



                                                                                    Signature of attorney



                                                                                    Date signed
                                                                                                       MM / DD /YYYY



 Official Form 205                                       Involuntary Petition Against a Non-Individual                                      page3
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                                                                                             Casanumber(lr_,_
                                                                                                            , ___________




13. Each petitioner's claim




                                                                                                                                      $ _____


                                                                                                                                      $ _____

                                                                                                  Total of patilioners' claims
                                                                                                                                      $ _____

   If more space is needed to list palitioners, attach additional sheets. Write the alleged debtor's name and the case number, if known, at
   the top of each llheet. Following the format of this form, set out the lnfannation requiNd in Pala 3 and 4 of the form fDr each
   additional pelitianing cradltor, the pelitionar's claim, the petiti_.s l1lpl'Nelllaliv and the pelitionar's attamey. Include the
   stalawnent under penalty of peljury set out in Part 4 of the form, followed by each additional pelltio11er"s (cw raprWiitali.,..s) signalura.
   along wilh the signature of the petitianer's attamey.



ill        Request    for....,
   WARNING - Bankruptcy fraud is a serious aime. Making a false statement in conneclion with a bankruptcy case can result in fines up to
   $500,000 or impiisol,ment for up to 20 years, or bolh. 18 U.S.C. §§ 152. 1341. 1519. and 3571.
   Patilioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
   petitioning cradilDr IS a oorporatlon, attach the corporate ownership statament raquirad by Bankruptcy Rule 1010(b). If any petitioner is a
   foreign nip18&811tatiw appoin1ad in a foreign proceeding. allac:h a certified copy of the order of the court granting nicognltion.
    I have examined the Information in this document and have a rvaaonable beief that the information is true and correct.

    Petitioners or PeliliOll&IS' Rapresentaliva                                   Attorneys




                                                                                  Printed name


                                                                                  Finn name. if any


                                                                                  Nwnber Street


                                                                                  City                                     Stale          ZIPCode
    Name and mailing add- of petitioner's�. if any

                                                                                  ConlaCI phone    ----- Email ________
    Name
                                                                                  Bar number
    Number Street


    City                                  Slate            ZIPCode




                                                                               JC _______________
                                                                                   Signalure of attorney


                                                                                   Date signed     1)1 "'/'-Pl Y
                                                                                                      MM /OD /YVYY



 Official Form 205                                     Involuntary Petition Against a Non-Individual                                       page3
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Ollidlll Form 205
       Case 3:19-bk-30822                Doc 1          Filed 03/19/19 Entered 03/19/19 14:33:05                           Desc Main
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13. Each petitioner's claim           Narne of petnion'-J-f                            '1ahue- of pf.::titioner's (;laim       An1ount of the c!c1irn




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   If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor's name and the case numbeL if known, at
   the top of each sheet. Following the format of this form. set out the information remlirecl in Paris 3 and 4 of the form for each
   additional petitioning creditor, the petitioner's claim. the petitioner's representative. and the petitioner's attorney. Include the
   statement under penalty of perjury set out in Part 4 of the form. followed by each additional petitioner's (or representative's) signature.
   alon9 with the signature of the petitioner"s ;;ttorney.




IMil      Request for Relief




   Petitioners or PetitiorH?rs· Representative                               Attorneys


   Name and maiiing address of petitioner




                                        ... VA
  Nam!' and mailing address of petitioner's representative. if any
       Case 3:19-bk-30822                   Doc 1         Filed 03/19/19 Entered 03/19/19 14:33:05                                        Desc Main
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13. Each petitioner's claim               Name of petitioner                                     Nature of petitioner 1 s daim                Amount of the claim
                                                                                                                                              ab·Jve the vaiue of
                                                                                                                                              any lien


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  if more space is needed to list petitioners. attacn additional sheets. Write the alleged debtor's name and the case numbers if known. at
  the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
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  statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner's (or representative's) signature.
  a!ong with the signature of the petitioner's attorney.




1811      Request for Relief

  WARNING -- Bankr;..1prcy fraud is a ser;ous crin1e. �,iaking a false slaten1ent in conner::::ion \\rlth a bankruptcy case can result in f:r-es up :c
  $500.000 or in:pr·sor;,nent for Lip to 2C �1ears. or bctr1. 18 U.S.C_ §§ 152. 134 L '1519. 2;1d 357\


  ;)etitior.in.g creditor :s a corporation. attach the corporate ownc;rship staten1ent r-eqL.ired cy Bankruptcy Ru!e 1010{b) !f ariy petltbf".er rs 3
  fcre!gn reo:-esentcttive appointed in a foreign proceeding, attach a certified copy of the orciar of the court gran!irq ;eccgrntion.




  Petitioners or Petitioners' Representative                                          Attorneys



  Name and mailing address of petitioner

   � /{o    /2 r J-- __ 5{C'.A.
               ?                           /\



                                                                                      Nurnbe r   St:ee:


                                                                                                                                 s:at-2
  Name and mailing address of petitioner's representative, if any




                                           St2-t2


  i declare under penalty of perjury that the foregoing 1s irue and correct.
        Case 3:19-bk-30822               Doc 1          Filed 03/19/19 Entered 03/19/19 14:33:05                         Desc Main
                                                        Document      Page 8 of 8



13. Each petitioner's claim            Name of petitioner                                 Nature of petitioner's dairn         Amount of the claim
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                                                        we.
                                                                                                                               c1ny lien


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    If rnore space is needed to Hst petitioners, attach additional sheets. Write the alleged debtor's name and the case number if known. at
    /'H> top of '";ict1 sheet. Fo!lowinH the format of this form. set out the information required in P<1rts 3 and 4 of the form for each
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    statement under penalty of perjury set out in Part 4 of the form. followed by each additional petitioner's (or representative's) signature.
    cilon�J w:th tile siqnalure of the petitioner's attorm,y.



1611       Request for Relief




    Pet\iioners or Petitioners' Representative                                Attorneys



    Name and mailing address of petitioner

                            f;NC.,

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